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                          DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES,                                )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )      Case No. 3:19-cr-0007
                                              )
AKIL ERICKSON and MIKIEL ROBIN,               )
                                              )
                     Defendants.              )
                                              )
                                              )
UNITED STATES,                                )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )      Case No. 3:19-cr-0053
                                              )
AKIL ERICKSON and MIKIEL ROBIN,               )
                                              )
                     Defendants.              )
                                              )

                                          ORDER
       BEFORE THE COURT is the motion of the United States for reconsideration of the
Court’s June 3, 2020, Order. For the reasons stated below, the Court will deny the United
States’ motion.
       On June 3, 2020, the Court entered an order dismissing the charges filed against Akil
Erickson (“Erickson”) and Mikiel Robin (“Robin”) in Criminal Case Numbers 3:19-cr-0007
and 3:19-cr-0053 with prejudice for violations of the Speedy Trial Act.
       On July 1, 2020, the United States filed a motion for reconsideration of this Court’s
June 3, 2020 Order. In its motion, the United States does not seek to challenge the Court’s
ruling. Rather, the United States requests that the Court remove or modify certain language
that expresses skepticism about some of the United States’ assertions and conduct in this
matter.
       On July 17, 2020, Robin filed a motion to strike the United States’ motion for
reconsideration.
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       Local Rule of Criminal Procedure 1.2 provides that “[i]n cases of general procedure
not covered by these Rules, the Local Rules of Civil Procedure shall apply.” LRCr 1.2. Local
Rule of Civil Procedure 7.3 permits motions for reconsideration only when there is (1) an
intervening change in controlling law; (2) new evidence available; or (3) a need to correct
clear error or prevent manifest injustice. LRCi 7.3; see also Max's Seafood Café by Lou–Ann,
Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir.1999) (citing North River Ins. Co. v. CIGNA
Reinsurance Co., 52 F.3d 1194, 1218 (3d Cir.1995)). A motion for reconsideration “shall be
filed within fourteen (14) days after entry of the order or decision unless the time is extended
by the Court.” LRCi 7.3; see also Batista v. United States, 377 Fed. App'x 145, 147 (3d Cir.
2010) (affirming district court’s denial of motion for reconsideration because it was
untimely pursuant to local civil rule governing motions for reconsideration).
       The purpose of a motion for reconsideration “is to correct manifest errors of law or
fact or to present newly discovered evidence.” Harsco Corp. v. Zlotnicki, 779 F.2d 906, 909
(3d Cir.1985). “Such motions are not substitutes for appeals, and are not to be used ‘as a
vehicle for registering disagreement with the court's initial decision, for rearguing matters
already addressed by the court, or for raising arguments that could have been raised before
but were not.’” Cabrita Point Dev., Inc. v. Evans, 52 V.I. 968, 975 (D.V.I. 2009) (quoting Bostic
v. AT & T of the V.I., 312 F. Supp. 2d 731, 733 (D.V.I. 2004)).
       In the context of a motion to reconsider, “manifest injustice ‘generally means that the
Court overlooked some dispositive factual or legal matter that was presented to it.’” Id.
(quoting In re Rose, No. 06–1818(JLP), 2007 U.S. Dist. LEXIS 64622, at *3 (D.N.J. Aug. 30,
2007)). Manifest injustice has also been defined as “‘an error in the trial court that is direct,
obvious, and observable.’” Tenn. Prot. & Advocacy, Inc. v. Wells, 371 F.2d 342, 348 (6th Cir.
2004) (quoting Black's Law Dictionary 974 (7th ed. 1999)). “[M]ost cases . . . use the term
‘manifest injustice’ to describe the result of plain error.” Douglass v. United Servs. Auto Ass'n,
79 F.3d 1415, 1425 (5th Cir. 1996).
       Here, the United States’ motion for reconsideration was filed on July 1, 2020, 28 days
after the Court entered its June 3, 2020 Order. As such, the United States’ motion for
reconsideration is untimely. Moreover, even if the United States had timely moved for
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reconsideration, it does not appear to present any intervening change in controlling law, new
evidence that was previously unavailable, or a need to correct clear error or prevent
manifest injustice.
       The premises considered, it is hereby
       ORDERED that the motion of the United States for reconsideration of the Court’s
June 3, 2020, Order is DENIED; and it is further
       ORDERED that Robin’s motion to strike the United States’ motion for reconsideration
is MOOT.




    Dated: September 18, 2020                            /s/ Robert A. Molloy
                                                         ROBERT A. MOLLOY
                                                         District Judge
